Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 1 of 21

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CHRISTOPHER LEE FRY,
Plaintiff, bn
VS.

GARY E. JOHNSON, Governor of New Mexico,

STATE OF NEW MEXICO, CIV Q
NEW MEXICO DEPARTMENT OF CORRECTIONS,
ROBERT J. PERRY, Secretary of Corrections,

JOHN SHANKS, Director of Adult Prisons,

DONNA WILPOLT, Deputy Corrections Secretary,

JERRY TAFOYA, Deputy Corrections Secretary,

JEFF SERNA, Interstate Compact Coordinator, LORE y

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and

THE WACKENHUT CORRECTIONS CORPORATION,
ELOY MONDRAGON, Former Warden,
MAJOR RALPH LUCERO, Director of Security

and

STATE OF VIRGINIA,

VIRGINIA DEPARTMENT OF CORRECTIONS,
RONALD ANGELONE, Virginia Corrections Director,
STANLEY K. YOUNG, Wallens Ridge State Prison Warden,
and PRESENTLY UNNAMED GUARDS AND OFFICERS,

Defendants.

COMPLAINT FOR VIOLATIONS
OF CONSTITUTIONAL RIGHTS

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Plaintiff Chris Fry presents the following Complaint seeking declaratory, compensa-

tory, exemplary, and injunctive relief from Defendants’ denials and violations of Plaintiff's

constitutional and civil rights, stating as follows:
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 2 of 21

l. Plaintiff is Chris Fry. In September, 1999, Plaintiff was a prisoner at the
Guadalupe County Correctional Facility in Santa Rosa, New Mexico. He was involuntarily

transferred to Wallens Ridge State Prison in Big Stone Gap, Virginia, on or around
September 25, 1999. .

2. Defendants are the State of New Mexico, Gary Johnson, New Mexico
Governor; New Mexico Department of Corrections, Robert J. Perry, Secretary of
Corrections; John Shanks, Acting Deputy Secretary and Director of Adult Prisons; Donna
Wilpolt, Deputy Secretary; Jerry Tafoya, Deputy Secretary; and Jeff Serna, Interstate
Compact Coordinator.

3. Defendant Wackenhut Corrections Corporation is the operator of the
Guadalupe County Correctional Facility. Eloy Mondragon is the former warden of the
prison in Santa Rosa. Major Ralph Lucero was the Security Chief at GCCF.

4, Defendants include the State of Virginia, the Virginia Department of
Corrections, Ronald Angelone, Virginia Corrections Department Director, and Stanley K.
Young, the Warden of Wallens Ridge State Prison. The Presently Unnamed Guards and
Officers are State of Virginia employees and officials who personally abused and mistreated
Plaintiff and violated his civil rights but who still have Plaintiff in their control and custody
and whose names are not fully known at this time.

5. Defendants Gary Johnson, Robert J. Perry, John Shanks, Donna Wilpolt, Jerry

Tafoya, Jeff Serna, Eloy Mondragon, Ralph Lucero, Ronald Angelone, Stanley K. Young and
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 3 of 21

the unnamed guards and officers are sued in their individual as well as their official
capacities. The individually named Defendants as well as the presently unnamed guards and
officers, are alleged to have been directly, individually, and personally involved in the acts
and omissions described herein or to have held supervisory or policy-making authority and
control over those who did directly inflict punishment, pain, and deprivations of civil and
constitutional rights on Plaintiff.

6. Jurisdiction of the Federal Court is invoked pursuant to the Court’s federal
question jurisdiction under 42 USC Sections 1983, 1985, 1986, and the laws and Constitu-
tions of the United States and the State of New Mexico.

FACTUAL ALLEGATIONS

7. On or around September 25, 1999, Defendants transferred Plaintiff from the
Wackenhut prison in Santa Rosa, New Mexico to Wallens Ridge State Prison (“WRSP”) in
Big Stone Gap, Virginia, a Supermax Prison. The transfer of Plaintiffto Virginia came about
three weeks after the murder of a guard, a subsequent riot at the prison, and the prior forced
transfer of over a hundred prisoners to the Supermax prison in Virginia.

8. Although the prison in Santa Rosa, New Mexico was relatively new, by August
1999 the provision of correctional services at the prison was far beneath reasonable and
adequate standards of corrections management and operations.

9. Classification and disciplinary systems were not functioning and Defendants

were ignoring crucial institutional security issues and threats. The prison was built with

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Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 4 of 21

serious design and structural flaws. The prison was understaffed and the staff was
inexperienced and poorly trained.

10. Nearthe end of August 1999, following serious incidents of violence at private
prisons around the State, Governor Johnson expressed his concern about the differences
between public and private correctional facilities.

It. | According to Governor Johnson and Corrections Secretary Perry, prisoners at
private prisons who were involved in violent incidents were being sent back to the State-run
prisons, where living conditions were more comfortable than at the private prisons.
Governor Johnson announced a new policy of sending such prisoners out-of-state instead.

12. Onoraround August 27, 1999, the Corrections Department Defendants posted
a Notice informing inmates that “Any further incidents of violence will result in the transfer
of inmates to out-of-state facilities.” The Notice advised the prisoners that they:

WILL NOT BE MOVED TO NEW MEXICO PRISONS, BUT WILL BE

MOVED BASED ON EMERGENCY TRANSFERS TO INSTITUTIONS

VIA THE INTERSTATE COMPACT AGREEMENT AND HOUSED

THERE FOR AN INDEFINITE AMOUNT OF TIME.

(EXHIBIT 1). The inmates perceived this Notice as a threat and a challenge.

13. On August 30, 1999, there was an assault on two inmates in E-Pod. Although

prison officials knew who the assailants were, they were not placed in segregation and at

least one of the assailants was apparently involved in the fatal stabbing of Officer Ralph

Garcia just a day later, on August 31, 1999.
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 5 of 21

14. The next day, September 1, 1999, Corrections Secretary Perry issued a press
release promising that “TI will have a firm and swift response to this incident.” A few days
later Perry announced:

.... the immediate transfer of approximately 120 inmates incarcerated at the

Guadalupe County Correctional Facility in Santa Rosa, to the Wallens Ridge

Correctional Facility in Big Stone Gap Virginia.

(EXHIBIT 2).

15. According to Perry, the prisoners sent to Virginia “are the individuals from
housing unit one, pod A & E, who participated in Tuesday nights’ riot that resulted in the
vicious killing of Correctional Officer Ralph Garcia.” Perry’s press release also stated that:

The Wallens Ridge Correctional Facility is a Super Max Level 6 Prison, one

of only two in the nation. The 120 inmates from GCCF will remain at Wallens

Ridge Correctional Facility indefinitely. While at WRCF the inmates will be

locked down for most of the day, programmed in their cells, and under the

constant supervision of Correctional Officers armed with 12 gauge combat
shotguns.
Referring to the prisoner transfers to Virginia, Perry announced that “(t)he state of New
Mexico is not going to tolerate prison violence, homicide and riots, and this is the response.”

16. Plaintiff did not participate in the killing of the guard or the subsequent
disturbance at the prison in Santa Rosa. At the time that occurred Plaintiff was in a
segregation cell at the prison.

17. The State of Virginia had recently opened its two new Supermax Prisons,

Wallens Ridge and Red Onion. The Supermax prisons were designed and built to confine,

control, and punish the worst and most violent and disruptive prisoners in the country.
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 6 of 21

18. Upon his arrival at Wallens Ridge Plaintiff was immediately placed and held
in a Segregation Unit. He remains in the Segregation Unit to this date, over six months later.

19. Defendants keep Plaintiffin a 12' by 7' cell and deny reasonable opportunities
for exercise or recreation out of his cell, deny any meaningful programs or activities, deny
any medical or psychological attention, deny access to books or law library, deny telephone
calls and other human contacts, unreasonably and cruelly humiliate and threaten him, and in
many such respects subjected Plaintiffto cruel, harsh, and unusual conditions of control and
confinement which are far different and more oppressive than any of Plaintiff's prior New
Mexico prison experiences.

20. At Wallens Ridge Plaintiff is being subjected to extraordinarily harsh and
degrading mistreatment, including denial of privacy, strict control and limitation of
movement, removal of social contacts, absence of meaningful programs and activities,
extreme punishment and behavioral modification efforts, and continual threats from
electroshock weapons, chemical sprays, firearms and shotguns, police dogs, body restraints,
and other Draconian methods of control and discipline.

21. During the more than six months he has been at Wallens Ridge Plaintiff has
never been allowed out of his cell without first being stripped, searched, shackled, chained,
and handcuffed.

22. During his time at WRSP Plaintiff has been accused and punished for alleged

violations of arbitrary and unreasonable prison rules and regulations; he has been beaten,
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 7 of 21

kicked, shocked, tied down in 5-point restraints,” and otherwise been forced to suffer pain,
extreme and intense discomfort and physical and emotional injury.

23. For the more than six months Plaintiff has been at WRSP Defendants have
refused to allow him to have even minimal recreation or exercise time out of his cell. They
have denied his choice of religious counseling; restricted his reading material; and interfered
with and destroyed his mail. Defendants have arbitrarily refused to allow Plaintiffto shower
and have refused to provide some of his meals. They have frequently shut off the water to
his cell. Defendants have responded to some of Plaintiffs grievance complaints by falsely
stating that he had “refused” the showers, meals, and other things Defendants refused to
allow.

24. Despite the physical injuries suffered by Plaintiff at WRSP, Defendants have
refused medical attention and treatment. Despite Plaintiff's requests for psychological
attention, Defendants have refused any treatment or counseling.

25. Atthe time of his transfer to Wallens Ridge Plaintiff was not a gang member,
he was not an escape risk, he had not engaged in any violent activity in prison, and he was
not a troublemaker.

26. Defendants have still not given any reason or explanation for sending Chris Fry

to Wallens Ridge and confining him in the Segregation Unit.
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 8 of 21

27. Despite Defendants’ lack of reason or justification for sending Plaintiff to
WRSP, he remains at Wallens Ridge and continues to be subjected to the abuse and
mistreatment described herein.

28. Throughout the events described herein and to the present time, Defendants
have forced Plaintiff to comply with arbitrary, unfair, and maliciously imposed rules,
regulations, policies and practices. Defendants have physically and emotionally attacked,
abused, and have deliberately attempted to inflict injury and punishment without any valid
reason, just cause, or due process.

COUNT 1
VIOLATIONS OF THE RIGHT TO DUE PROCESS

29. Defendants selected Plaintiff for transfer to the Supermax prison in Virginia
without conducting any investigation, without stating any valid reason or justification, and
without holding any hearing or allowing Plaintiffto make any presentation or defense against
his transfer.

30. The Fourteenth Amendment to the United States Constitution and Article IT,
Section 18, of the New Mexico Constitution provide the rights to due process and equal
protection of the laws.

31. Defendants Robert Perry, Eloy Mondragon, and other New Mexico Corrections

Department and Wackenhut officials selected and approved the selection of Plaintiff for
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 9 of 21

transfer and Supermax imprisonment in Virginia without reason, justification, prior notice
or a hearing.

32. Defendants’ transfer of Chris Fry to Virginia in chains and shackles, his
extended misplacement in the Segregation Unit of a Super maximum security prison in
Virginia, and the continued imposition of cruelly restrictive conditions of confinement
constitute atypical and significant hardships and deprivations of Plaintiff's fundamental
rights and interests.

33. Defendants’ acts and omissions and their treatment of Chris Fry described
herein violate commonly accepted norms of human, social, personal, and official conduct
and behavior, and constitute human rights violations which are truly unconscionable and
offensive to the concept of ordered liberty.

34. Despite his conviction and sentence, Plaintiffhas a substantial residual liberty
interest which Defendants have denied or seriously compromised by their acts and omissions.

35. Defendants have used excessive force and inflicted cruel and unusual
punishment, have violated Plaintiff's right of procedural and substantive due process of law,
and have denied Plaintiffs right to equal protection of the law. Defendants are liable for the
damages proximately resulting from their violations of Plaintiff's civil and constitutional
rights.

COUNT 2

VIOLATIONS OF THE RIGHT TO BE FREE
OF CRUEL AND UNUSUAL PUNISHMENT

36. The preceding allegations and claims are adopted.

9
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 10 of 21

37. The Eighth Amendment to the United States Constitution and Article II.
Section 13, of the New Mexico Constitution prohibit the infliction of cruel and unusual
punishment.

38. At the time Defendants transferred Plaintiff to Wallens Ridge, Plaintiff was a
non-violent individual who had no disciplinary infractions or misconduct on his prison
record.

39. By subjecting Plaintiff to the most harsh and extreme conditions of
confinement and punishment and by the mistreatment of Plaintiff described herein.
Defendants have cruelly and unusually inflicted punishment that goes far beyond the bounds
of any acceptable or appropriate treatraent of minimum or medium security and restriction
prisoners.

40. Defendants knew that sending Plaintiff and other minimum and medium
security prisoners like him to a Supermax penitentiary and placing him without reason or just
cause in solitary confinement could and would needlessly inflict serious emotional harm and
damage.

41. Defendants have established a pattern and practice of using unnecessary and
excessive force which is not justified by any legitimate penological or correctional policies
or practices. The force used against Plaintiffhas not been motivated by any good faith effort

‘to restore order or maintain the security of the prison. To the contrary, the force used against

Plaintiff is arbitrary, gratuitous, and highly punitive.

10
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 11 of 21

42. Defendants are liable for any and all damages, including but not limited to
damages for mental and emotional distress and physical pain and suffering, caused by their
infliction of cruel and unusual punishment on Plaintiff.

COUNT 3

VIOLATIONS OF THE RIGHT TO BE FREE
OF UNREASONABLE SEARCHES AND SEIZURES

43. The preceding allegations and claims are adopted.

44. Throughout the time he was transported to and from Wallens Ridge State
Prison and while he was at Wallens Ridge, Plaintiff was repeatedly and painfully restrained,
shackled, handcuffed, and required to endure long periods of distress and discomfort.

45. The Fourth Amendment to the United States Constitution and Article H,
Section 10, of the New Mexico Constitution prohibits unreasonable searches and seizures.

46. The Virginia Defendants have forced Fry to submit to innumerable strip
searches. A Wallens Ridge memo details the procedure:

Any time a strip search is conducted the inmate will be required to strip off all

his clothing, turn around slowly, put his hands on his buttocks, spread his

buttocks, squat to the ground while buttocks is still spread, and cough hard

twice.

This procedure will be followed any time a segregation inmate leaves his cell
for any reason. There will be no exceptions to this procedure.

(EXHIBIT 3).

47. By their policies, procedures, acts, and omissions, Defendants knowingly,
deliberately, and unreasonably removed and denied the residuum of privacy and personal
rights retained by Chris Fry.

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Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 12 of 21

48. Both New Mexico and Virginia Defendants are liable for the damages resulting
from their violations of Plaintiff's fundamental right to be free of unreasonable, unwarranted
and unjustified searches and seizures.

COUNT 4
DENIAL OF EQUAL PROTECTION OF THE LAW

49. The preceding allegations and claims are adopted.

50. By selecting Plaintiff and compelling his transfer to Super maximum security
confinement in Virginia Defendants acted arbitrarily and unreasonably and violated
Plaintiff's right to equal protection of the law.

Sl. At Wallens Ridge the New Mexico prisoners are segregated in their own
section and are treated more harshly and cruelly than groups of prisoners from other states.
Furthermore, Defendants are treating Plaintiff even worse than they treat most of the New
Mexico prisoners.

52. By treating Plaintiff and many of the other Santa Rosa prisoners differently
from other prisoners and by treating Plaintiffand other New Mexico prisoners differently and
more harshly than other prisoners at WRSP, Defendants have denied Plaintiff s constitutional

right to equal protection and are liable for damages resulting from their violations.
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 13 of 21

COUNT 5
CONSPIRACY

53. The preceding allegations and claims are adopted.

54. Defendants met, conversed, planned, and arranged between and among
themselves and with their subordinates to execute the transfer, placement, and punishment
of Plaintiff and the other New Mexico prisoners at Wallens Ridge State Prison.

55. | Defendants have acted individually and together with each other and other
government officials and employees to plan, cause, and effect the transfer of Plaintiff and
other prisoners to Wallens Ridge State Prison knowing that the transfer and placement would
inevitably cause extraordinary physical and emotional pain, suffering, and damage.

56. Plaintiff is entitled to damages and other relief for injuries resulting from
Defendants conspiracy to violate his constitutional rights.

COUNT 6
VIOLATION OF INTERSTATE COMPACT

57. The preceding allegations and claims are adopted.

58. Defendants have entered into an Interstate Compact and other understandings
between the New Mexico and Virginia Departments of Corrections.

59. On September 3, 1999, New Mexico Corrections Secretary Robert Perry and
Virginia Corrections Director Ron Angelone entered into a Memorandum of Understanding
expressly providing for the transfer of the New Mexico prisoners to Wallens Ridge State

Prison.
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 14 of 21

60. The Interstate Compact, codified as State law at 31-5-17 NMSA (2000),
provides that inmates sent to another state’s institutions “shall be treated in a reasonable and
humane manner... ..”

61. The Compact further provides that confinement in another state “shall not
deprive any inmate so confined of any legal rights which said inmate would have had if
confined in an appropriate institution of the sending state.”

62. Defendants have breached the provisions of the Interstate Compact by failing
to treat Plaintiff and others “in a reasonable and humane manner” and by failing to provide
Plaintiff with the same rights he “wou!d have had if confined in an appropriate institution”
in New Mexico.

63. Plaintiff is a third-party beneficiary who has been damaged as a result of
Defendants’ breach of the Interstate Compact and Defendants are liable to Plaintiff for
damages sustained as a proximate result of their misconduct.

COUNT 7
SUPERVISORY AND MANAGEMENT LIABILITY

64. The preceding allegations and claims are adopted.

65. The denials of due process rights and the gratuitous use of force described
herein evidence malicious attempts to inflict punishment and injury, rather than good faith
efforts to maintain order and the security of the institution.

66. Defendants Perry, Angelone, and Young failed to monitor and control the

excessive use of force against Plaintiff. In fact, Defendants initiated and supported such

14
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 15 of 21

oppressive conditions of confinement and encouraged and condoned such excessive use of
force.

67. Defendants engaged in a pattern and practice of using excessive force and of
demonstrating deliberate indifference to the rights and interests of Plaintiff and other New
Mexico prisoners at WRSP. Defendants are liable for damages resulting from their excessive
use of force and their deliberate indifference to Plaintiff's rights.

COUNT 8

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS,
AND CLAIM FOR PUNITIVE DAMAGES

68. The preceding allegations and claims are adopted.

69. Defendants’ unconstitutional conduct described herein was willful, wanton,
deliberate, malicious, and intended to and did punish and inflict pain and emotional harm
upon Plaintiff for acts he did not commit.

70. Defendants have acted with deliberate and utter indifference for the rights of
Chris Fry; their conduct in this case is shocking and egregious.

71. Plaintiffis entitled to an award of exemplary and punitive damages to deter and
prevent Defendants and others from committing such extreme and offensive constitutional

violations in the future.

15
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 16 of 21

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the award of the following relief:

A. Declaratory and compensatory relief for damages resulting from violations of
Plaintiffs liberty interests and rights to due process and equal protection of the law,
including but not limited to damages for pain, injury, suffering, and emotional distress.

B. Declaratory and compensatory relief for damages resulting from violations of
Plaintiff's right to be free of unreasonable searches and seizures and cruel and unusual
punishment.

C, Declaratory and compensatory relief for damages resulting from violations of
the interstate compact and other agreements among the parties.

D. An Injunctive Order requiring Defendants to return Chris Fry to New Mexico
and requiring Defendants to provide counseling, therapy, treatment, and care necessary to

treat him for the immediate and the long-term effects of his experience at Wallens Ridge.

E. Compensatory damages for the intentional infliction of emotional distress on
Plaintiff.
F. Exemplary and punitive damages to discourage and prevent such and similar

acts by Defendants and others in the future in the amount of at least Two Million Dollars.
G. Costs of this action and reasonable attorneys’ fees.

H. Such other and further equitable or legal reliefas the Court deems just, proper,

and necessary.

16
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 17 of 21

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Respectfully submitted,

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Paul Livingston
Attorney for Chris Fry
P.O. Box 90908
Albuquerque, NM 87199
(505) 823-4410
Case 1:00-cv-00398-ELM-WD Document1 Filed 03/16/00 Page 18 of 21

VERIFICATION
I, JOHNNY FRY, being duly sworn upon my oath, do hereby state and affirm that I
1 am the legal guardian of CHRISTOPHER LEE FRY, that I hold the power of attorney for

Chris Fry, that I have read the foregoing complaint, that I understand the complaint, and that

the facts set out therein are true and correct, to the best of my knowledge.

Sh. MEE
/ /OEINNY PRY 4

COUNTY OF BERNALILLO )

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Ss
STATE OF NEW MEXICO

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cH,
Sworn and Subscribed to before me this iS day of March, 2000, by Johnny Fry

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NOTARY PUBLIC

 

My Commission Expires: J UNE { ' Z 0o3

  
    
   
   
    

 
 

OFFICIAL SEAL
PAUL LIVINGSTON
Notary Public

State of New Mé
my Appointment Expires

18
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ATTENTION:

THIS DOCUMENT IS POSTED
FOR INFORMATION TO ALL
INMATES: |

ANY FURTHER INCIDENTS OF VIOLENCE
WILL RESULT IN TRANSFER OF INMATES TO
OUT OF STATE FACILITIES.

YOU WILL NOT BE MOVED TO NEW MEXICO
PRISONS, BUT WILL BE MOVED BASED ON
EMERGENCY TRANSFERS TO INSTITUTIONS
VIA THE INTERSTATE COMPACT
AGREEMENT AND HOUSED THERE FOR AN
INDEFINITE AMOUNT OF TIME.

YOUR INSTITUTION WILL BE LOCKED DOWN
UNTIL SUCH TIME AS THE AFFECTED
INMATE TRANSFERS HAVE OCCURRED.

STATE OF NEW MEXICO
CORRECTIONS DEPARTMENT

Plaintiff’s

EXHIBIT 1
POR IMMEDIATE BELEA SOV OOSS8-ELM-WD Document 1 Filed 03/16/00" PAtyel ay en us-forrections/press 14 hart

lof!

FOR IMMEDIATE RELEASE-September 3, 1999
CORRECTIONS SECRETARY ANNOUNCES INMATE TRANSFER

(Santa Fe)---New Mexico Corrections Secretary Robert J. Perry announced this morning the immediate transfer
of approximately [20 inmates incarcerated at the Guadalupe County Correctional Facility in Santa Rosa, to the
Wallens Ridge Correctional Facility in Big Stone Gap Virginia. The 120 inmates are the individuals from
housing unit one, pods A & £, who participated in Tuesday nights’ riot that resulted in the vicious killing of
Correctional Officer Ralph Garcia. The inmates were transported early this morning from the U-S Customs
Hanger at Kirtland Air Force Base in Albuquerque via a U-S Marshall Transport Jet Plane. The operation is a
joint effort of New Mexico Corrections Department, New Mexico State Police and the U-S Marshall Service.

The Wallens Ridge Correctional Facility is a Super Max Level 6 Prison, one of only two in the nation. The 120
inmates from GCCF will remain at Wallens Ridge Correctional Facility indefinitely. While at WRCF the inmates
will be locked down for most of the day, programmed in their cells, and under the constant supervision of
Correctional Officers, armed with 12 gauge combat shotguns. Secretary Perry said this morning; "They (inmates)
will not receive the amenities they have been accustomed to while in prison in New Mexico." He added, "I do not
expect a repeat of their past behavior in the Virginia Facility considering these conditions of confinement and
supervision.”

Several inmates who were participants and witnesses in Tuesday’s homicide are being held in a New Mexico
Super Max facility for disposition of their case. Secretary Perry said, "1 am hopeful these inmates are fully
prosecuted to the full extent of the law, which includes a death penalty sentence for their vicious killing of
Officer Garcia."

FOR ADDITIONAL INFORMATION CONTACT THE CORRECTIONS DEPARTMENT AT: PAGER
NUMBER 989-5755.

Plaintiff’s

EXHIBIT 2
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Viemo

To: INMATE pomannc/
From: MAJOR T. YATES

Date: 11/12/99

Re: STRIP SEARCH PROCEDURE

LATELY THERE HAS BEEN SOME CONFUSION ABOUT THE STRIP SEARCH PROCEDURE
HERE AT WALLENS RIDGE STATE PRISON. THIS MEMO WILL CLEAR UP ANY QUESTIONS

YOU MAY HAVE ABOUT THIS PROCEDURE.
ANY TIME A STRIP SEARCH IS CONDUCTED THE INMATE WILL BE REQUIRED TO STRIP

OFF ALL HIS CLOTHING, TURN AROUND SLOWLY, PUT HIS HANDS ON HIS BUTTOCKS,
SPREAD HIS BUTTOCKS, SQUAT TO THE GROUND WHILE BUTTOCKS IS STILL SPREAD. AND

COUGH HARD TWICE.

THIS PROCEDURE WI
CELL FOR ANY REASON.

LL BE FOLLOWED ANY TIME A SEGREGATION INMATE LEAVES HIS
THERE WILL BE NO EXCEPTIONS TO THIS PROCEDURE.

MAJOR T. YATES

Plaintiff’s

_™“ EXHIBIT 3
